Case 2:15-ml-02668-PSG-SK Document 687-3 Filed 11/05/22 Page 1 of 13 Page ID
                                #:17608




                   EXHIBIT 5

To the Declaration of Rakesh N.
            Kilaru

    REDACTED VERSION OF
      DOCUMENT FILED
         PUBLICLY
Case 2:15-ml-02668-PSG-SK Document 687-3 Filed 11/05/22 Page 2 of 13 Page ID
                                #:17609




                                       In the Matter Of:

              In Re: National Football League's "Sunday Ticket" Antitrust Litigation




                                     FRANK HAWKINS
                                        August 02, 2022




                               LEXITAS™
Case 2:15-ml-02668-PSG-SK Document 687-3 Filed 11/05/22 Page 3 of 13 Page ID
   In Re: National Football League's "Sunday Ticket"
                                             #:17610 Antitrust Litigation Frank Hawkins
                                        Confidential                     August 02, 2022

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·3· ·UNITED STATES DISTRICT COURT
· · ·CENTRAL DISTRICT OF CALIFORNIA
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·5· ·IN RE: NATIONAL FOOTBALL LEAGUE'S "SUNDAY
· · ·TICKET" ANTITRUST LITIGATION
·6

·7· · · · · · · · ·Plaintiffs,

·8· ·Civil Action No.: 2:15-ml-02668-PSG(JEMx)

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10· ·-------------------------------------X

11· · · · · ·REALTIME VIDEO-RECORDED DEPOSITION

12· · · · · · · · · · · OF

13· · · · · · · · ·FRANK HAWKINS

14· · · · · · · ***· CONFIDENTIAL ***

15· · · · · · TAKEN ON:· August 2, 2022

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   In Re: National Football League's "Sunday Ticket"
                                             #:17611 Antitrust Litigation Frank Hawkins
                                        Confidential                     August 02, 2022

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·2· · · · · · ·REALTIME VIDEO-RECORDED DEPOSITION of

·3· ·FRANK HAWKINS, held remotely on August 2, 2022, at

·4· ·9:07 a.m., stenographically before LISA FORLANO,

·5· ·Certified Court Reporter, Certified Realtime

·6· ·Reporter, Registered Merit Reporter and Notary

·7· ·Public.

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   In Re: National Football League's "Sunday Ticket"
                                             #:17612 Antitrust Litigation Frank Hawkins
                                        Confidential                     August 02, 2022

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·1· ·A P P E A R A N C E S:

·2

·3· · · · · · ·LANGER GROGAN & DIVER
· · · · · · · ·BY:· PETER LECKMAN, ESQUIRE
·4· · · · · · ·1717 ARCH STREET, SUITE 4130
· · · · · · · ·PHILADELPHIA, PENNSYLVANIA· 19103
·5· · · · · · ·(215) 320-5660
· · · · · · · ·pleckman@langergrogan.com
·6· · · · · · ·ATTORNEYS FOR PLAINTIFF

·7

·8· · · · · · ·COVINGTON & BURLING LLP
· · · · · · · ·BY:· DEREK LUDWIN, ESQUIRE
·9· · · · · · ·ONE CITYCENTER
· · · · · · · ·850 TENTH STREET, NW
10· · · · · · ·WASHINGTON, D.C.· 20001-4956
· · · · · · · ·(202) 662-5429
11· · · · · · ·dludwin@cov.com
· · · · · · · ·ATTORNEYS FOR DEFENDANT
12

13· · · · · · ·WILKINSON STEKLOFF
· · · · · · · ·BY:· MAX WARREN, ESQUIRE
14· · · · · · ·2001 M STREET, NW, 10th FLOOR
· · · · · · · ·WASHINGTON, D.C.· 20036
15· · · · · · ·(202) 847-4000
· · · · · · · ·mwarren@wilkinsonstelloff.com
16· · · · · · ·ATTORNEYS FOR THE DEFENDANT

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18· · · · · · ·ADRIAN BELTRAN, VIDEOGRAPHER

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·2· · · · · · · · · ·I N D E X

·3· ·WITNESS· · · · · · · · · · · · · · · · · · · ·PAGE

·4· ·FRANK HAWKINS

·5· · · By Mr. Leckman· · · · · · · · · · · · · · ·7, 197

·6· · · By Mr. Ludwin· · · · · · · · · · · · · · · ·176

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·9· · · · · · · ·E X H I B I T S

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·1· · · · · · ·E X H I B I T S (CONTINUED)

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   In Re: National Football League's "Sunday Ticket"
                                             #:17615 Antitrust Litigation Frank Hawkins
                                        Confidential                     August 02, 2022

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·1· · · · · VIDEO OPERATOR:· Good morning,

·2· ·everyone.· We are on the record,

·3· ·August 2, 2022, at approximately

·4· ·9:07 a.m., Eastern Time, for the remote

·5· ·video deposition of Frank Hawkins, in the

·6· ·matter of NFL Sunday Ticket Antitrust

·7· ·Litigation.

·8· · · · · My name is Adrian Beltran, and I

·9· ·am the videographer.

10· · · · · Now, will counsel please introduce

11· ·themselves for the record, beginning with

12· ·the party noticing this proceeding?

13· · · · · MR. LECKMAN:· This is Peter

14· ·Leckman, from Langer Grogan & Diver,

15· ·representing Plaintiffs.

16· · · · · MR. LUDWIN:· This is Derek Ludwin,

17· ·from Covington & Burling, representing

18· ·the National Football League and the

19· ·witness.

20· · · · · I have with me Max Warren of

21· ·Wilkinson Stekloff representing the same

22· ·parties.

23· · · · · VIDEO OPERATOR:· Thank you,

24· ·Counsel.

25· · · · · Will the court reporter swear in


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Case 2:15-ml-02668-PSG-SK Document 687-3 Filed 11/05/22 Page 12 of 13 Page ID
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